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                                      Godfrey Declaration

                                                 None
“actual economic losses”

                                                 None
“matching of revenues and expenses”
                                                 (also checked “matching of expenses and revenues”)




                                        Bloom Declaration

                                                 None
“true lost profits”

                                                 None
“matching revenue to expenses”
                                                 (also checked “matching revenues to expenses” and
                                                 “matching expenses to revenues”)
                                                 None

“matching revenue to corresponding expenses”     (also checked “matching revenues to corresponding
                                                 expenses” and “matching expenses to corresponding
                                                 revenues”)
                                                 None
“economic reality”

                                                 None
“matching revenues with expenses”
                                                 (also checked “matching expenses with revenues”)
                                                 None
“revenues and corresponding expenses”
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                                     Gaspardo Declaration




“expense be matched to the revenue those expenses generated”     None


“allocate revenue in the appropriate month”                      None


“match expenses to the revenue”                                  None


“matching expenses to the revenue generated by those expenses”   None


“match revenue to corresponding variable expenses”               None


“matching revenue to corresponding variable expenses”            None
